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 1                                        THE HONORABLE JAMAL N. WHITEHEAD

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 6                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7
                                     AT SEATTLE
 8
     KURT A. BENSHOOF,                     NO. 2:23-cv-01392-JNW
 9
                          Plaintiff,       DEFENDANT NATHAN CLIBER’S
10                                         JOINDER OF THE CITY OF
     vs.
                                           SEATTLE’S MOTION FOR A
11                                         VEXATIOUS LITIGANT ORDER
     MOSHE ADMON, DANIEL AUDERER,          AGAINST PLAINTIFF KURT A.
12   JUSTIN BOOKER, FREYA BRIER, CITY OF   BENSHOOF
     SEATTLE, NATHAN CLIBER, ZACHARY
13   COOK, BENJAMIN COOMER, ANITA
     CRAWFORD-WILLIS, JENNY DURKAN,
14
     JAMES ERVIN, DAVID ESTUDILLO,
15   MARSHAL FERGUSON, MICHAEL FOX,
     COREY FOY, AMY FRANKLIN-BIHARY,
16   WILLIAM GATES, III, STEVEN
     GONZALEZ, TYLER GOSLIN, WILLIE
17   GREGORY, OWEN HERMSEN, JAY
     INSLEE, DAVID KEENAN, GABRIEL
18
     LADD, DANIEL LENTZ, MAGALIE
19   LERMAN, MARY LYNCH, SARAH
     MACDONALD, ANTHONY MARINELLA,
20   RICARDO MARTINEZ, BRADLEY MOORE,
     KATRINA OUTLAND, JESSICA OWEN,
21   PCC NATURAL MARKETS, KYLE
22   REKOFKE, STEVEN ROSEN, BLAIR RUSS,
     UMAIR SHAH, SPROUTS FARMERS
23   MARKET, MICHAEL THURSTON, JARED
     WALLACE, SANDRA WIDLAN,
24
                           Defendants.
25



      DEFENDANT CLIBER’S JOINDER OF THE                  GORDON REES SCULLY
      CITY OF SEATTLE’S MOTION FOR                       MANSUKHANI, LLP
                                                         701 5th Avenue, Suite 2100
      VEXATIOUS LITIGANT ORDER - 1                       Seattle, WA 98104
      2:23-cv-01392-JNW                                  Telephone: (206) 695-5112    -1-
                                                         Facsimile: (206) 689-2822
            Case 2:23-cv-01392-JNW Document 254 Filed 07/23/24 Page 2 of 12




 1          Comes now Defendant Nathan Cliber (“Defendant Cliber”) and files this Joinder of

 2   Defendant City of Seattle’s Motion for Vexatious Litigant Order Against Plaintiff Kurt A.

 3   Benshoof (the “Motion”), Dkt. 250, and states in support thereof as follows:

 4         Defendant Cliber joins in the City of Seattle’s Motion and incorporates the same as if

 5   fully stated herein. For the reasons stated in the City of Seattle’s Motion, Defendant Cliber

 6   respectfully requests that this Court enter the City of Seattle’s [Proposed] Vexatious Litigant

 7   Order Against Kurt A. Benshoof, Dkt. 250-1. Further, if the Court grants the Motion, Defendant

 8   Cliber respectfully requests that the Order Restricting Abusive Litigation of Kurt Benshoof,
 9   entered by Judge Ferguson in King County Superior Court Case No. 22-2-15958-8 SEA on

10   March 31, 2023, attached hereto as Exhibit A, be attached to this Court’s Order granting the

11   Motion as an exhibit.

12         The undersigned certifies that this memorandum contains 141 words, in compliance with

13   the Local Civil Rules.

14
     Dated: July 23, 2024                       GORDON REES SCULLY MANSUKHANI, LLP
15
                                                 By: /s/ Sarah N. Turner
16                                                    Sarah N. Turner, WSBA No. 37748
17                                               By: /s/ Michael C. Tracy
                                                      Michael C. Tracy, WSBA No. 51226
18                                                    701 5th Avenue, Suite 2100
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                                                  Attorneys for Defendant Nathan Cliber
22

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     DEFENDANT CLIBER’S JOINDER OF THE                                  GORDON REES SCULLY
     CITY OF SEATTLE’S MOTION FOR                                       MANSUKHANI, LLP
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     2:23-cv-01392-JNW                                                  Telephone: (206) 695-5112      -2-
                                                                        Facsimile: (206) 689-2822
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                    EXHIBIT A




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